Case 1:95-cv-00094-TS Document 1100 Filed 03/06/07 PageID.3850 Page 1 of 3




           IN THE UNITED STATES COURT FOR THE DISTRICT OF UTAH
                                    NORTHERN DIVISION




 THE PROCTER & GAMBLE COMPANY
 and THE PROCTER & GAMBLE
 DISTRIBUTING CO.,
        Plaintiffs,                                      MEMORANDUM DECISION AND
                                                         ORDER ON PEPPE
                                                         CERTIFICATION


                vs.


 RANDY L. HAUGEN, et al.,                                Case No. 1:95-CV-94 TS
        Defendants.




       Procter & Gamble has filed the Certification of Cynthia Peepe (Peepe Certification),

a custodian of the records to establish the authenticity of the documents found in Pl.s’ Ex.

382D. Defendants contend that the Peepe Certification is not sufficient and seek to require

the custodian to personally appear to authenticate these records.

       Rule 803(6) permits the authentication of a business record by the
       “custodian” of the record or any “other qualified witness.” Fed. R. Evid.
       803(6). Ordinarily, the custodian or other qualified witness will testify in court
       that it was the “regular practice” of the business to make and keep the
       business record. Alternatively, the plaintiff can certify the document under
       Rule 902(11) or . . . which require[s] the plaintiff to introduce at trial a “written
       declaration” by the custodian or other qualified person that the record:

                                                1
Case 1:95-cv-00094-TS Document 1100 Filed 03/06/07 PageID.3851 Page 2 of 3




              (A) was made at or near the time of the occurrence of the
              matters set forth by, or from information transmitted by, a
              person with knowledge of those matters;
              (B) was kept in the course of the regularly conducted activity; and
              (C) was made by the regularly conducted activity as a regular practice.
       In both situations, the custodian need not be the individual who “personally
       gather[ed] . . . in a business record. The custodian of the records need not
       be in control of or have individual knowledge of the particular corporate
       records, but need only be familiar with the company's recordkeeping
       practices.”1

       Similarly, “there is no requirement that the party offering a business record produce

the author of the item.”2

       The Court has reviewed the Peppe Certification and finds that it complies with Fed.

R. Evid. 803(6) and 902(11). The Peepe Certification states3 that the records were made

contemporaneously with the events and were kept in the course of a regularly conducted

business activity4 as required to show that the records are business records covered by

Rule 803(6). The Peepe Certification also shows that the requirements of subsections

(11)(A) through 11(C) were met.5          Therefore, the Court finds that a foundation for

admissibility of the documents has been met.




       1
        Thanongsinh v. Board of Educ. 462 F.3d 762, 777 (7th Cir. 2006) (quoting
United States v. Jenkins, 345 F.3d 928, 935 (6th Cir.2003) (internal quotation marks
and citations omitted).
       2
           FDIC v. Staudinger, 797 F.2d 908, 910 (10th Cir. 1986).
       3
           Certification at ¶ 7 and 11.
       4
           Id. at ¶ 6 and 7.
       5
           Id.

                                               2
Case 1:95-cv-00094-TS Document 1100 Filed 03/06/07 PageID.3852 Page 3 of 3




     SO ORDERED

     DATED March 6, 2007.

                                  BY THE COURT:


                                  ___________________________________
                                  TED STEWART
                                  United States District Judge




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